Case 3:23-cv-03417-VC Document 162-1 Filed 09/20/24 Page 1 of 8




         EXHIBIT A
               Case 3:23-cv-03417-VC Document 162-1 Filed 09/20/24 Page 2 of 8




From:                         Aaron Cera <aCera@saverilawfirm.com>
Sent:                         Tuesday, September 17, 2024 8:34 PM
To:                           Hartnett, Kathleen
Cc:                           Stameshkin, Liz; Holden Benon; Dunning, Angela L.; Ghajar, Bobby A.; Ghazarian, Colette
                              A; Lauter, Judd; Biksa, Liene; Alvarez, Jessica; mlemley@lex-lumina.com; Weinstein, Mark;
                              Poppell, Cole A; Cadio Zirpoli; Joseph Saveri; Margaux Poueymirou; Ashleigh Jensen; Rya
                              Fishman; Matthew Butterick; Nada Djordjevic; James Ulwick; Bryan L. Clobes;
                              Mohammed Rathur; Amy Keller; David Straite; Christopher Young; Ruby Ponce;
                              Alexander Sweatman; Heaven Haile; z/Meta-Kadrey
Subject:                      Re: Kadrey v. Meta: 8 Additional Deponents



[External]

Counsel,

As discussed on our call, I write to provide specific Bates numbers of documents that show that Mr.
Zuckerberg has unique, non-repetitive information. The list provided below is non-exhaustive. However,
these documents themselves are prima facie evidence that Mr. Zuckerberg has first-hand knowledge of
relevant facts and thus is a critical witness in this Action. We also note that these documents are further
evidence as to why Mr. Zuckerberg should have been a custodian as Plaintiffs requested. Plaintiffs
reserve all rights. Additionally, Plaintiffs note that these documents are in addition to the New York Times
Article: How Tech Giants Cut Corners to Harvest Data for A.I. (April 6, 2024), which shows that Mr.
Zuckerberg was looking for a way to keep pace wit h OpenAI with respect to quality and volume of Training
Data. Either the documents on their own or the New York Times Article would be enough to justify Mr.
Zuckerberg's deposition.

Plaintiffs offer a further compromise: should Meta agree to stipulate to the truthfulness of the
statements/actions attributed to Mr. Zuckerberg in the aforementioned New York Times article, Plaintiffs
would be willing to limit the hours of Mr. Zuckerberg's deposition. Please confirm whether Meta would
agree to this.

Bates Numbers: Meta_Kadrey_00080095; Meta_Kadrey_00033868;
Meta_Kadrey_00056492; Meta_Kadrey_00052923; Meta_Kadrey_00032756; Meta_Kadrey_00033120;
Meta_Kadrey_00033118; Meta_Kadrey_00000256.

I am also writing to memorialize a briefing schedule. You'll notice there are more details in this schedule
than we discussed on the call. I think the detail behooves both parties:

   1. Joint Brief re Meta's Protective Order due 9/20.
   2. Simultaneous exchange of portions on 9/19 at 7 PM PT.
   3. Simultaneous exchange of revised portions on 9/20 at 4 PM PT. Each side reserves the right to
      make substantive changes and will notify the other party of its intent by 5 PM PT.
   4. The Parties will send any substantive changes to their portions by 6:30 PM PT.
   5. Meta will file with consent of Plaintiffs before midnight.


                                                        1
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Best,
Aaron

Aaron Cera
Associate
___________________________




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San Francisco, CA 94108
T 415.500.6800 x909
F 415.395.9940




From: Aaron Cera <aCera@saverilawfirm.com>
Sent: Tuesday, September 17, 2024 4:33 AM
To: Hartnett, Kathleen <khartnett@cooley.com>
Cc: Stameshkin, Liz <lstameshkin@cooley.com>; Holden Benon <hbenon@saverilawfirm.com>; Dunning, Angela L.
<adunning@cgsh.com>; Ghajar, Bobby A. <bghajar@cooley.com>; Ghazarian, Colette A <cghazarian@cooley.com>;
Lauter, Judd <jlauter@cooley.com>; Biksa, Liene <lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>;
mlemley@lex-lumina.com <mlemley@lex-lumina.com>; Weinstein, Mark <mweinstein@cooley.com>; Poppell, Cole A
<CPoppell@cooley.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joseph Saveri <jsaveri@saverilawfirm.com>;
Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh Jensen <ajensen@saverilawfirm.com>; Rya
Fishman <rfishman@saverilawfirm.com>; Matthew Butterick <mb@buttericklaw.com>; Nada Djordjevic
<ndjordjevic@dicellolevitt.com>; James Ulwick <Julwick@dicellolevitt.com>; Bryan L. Clobes
<BClobes@caffertyclobes.com>; Mohammed Rathur <MRathur@caffertyclobes.com>; Amy Keller
<akeller@dicellolevitt.com>; David Straite <dstraite@dicellolevitt.com>; Christopher Young
<cyoung@saverilawfirm.com>; Ruby Ponce <rponce@saverilawfirm.com>; Alexander Sweatman
<ASweatman@caffertyclobes.com>; Heaven Haile <hhaile@saverilawfirm.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: Re: Kadrey v. Meta: 8 Additional Deponents

Thanks for the confirmation, Kathleen.

I've circulated an invite for 2 PM PT.

Best,
Aaron

Aaron Cera
Associate
___________________________




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San Francisco, CA 94108

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                                                                                                                             Case 3:23-cv-03417-VC Document 162-1 Filed 09/20/24 Page 4 of 8
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From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Monday, September 16, 2024 10:14 PM
To: Aaron Cera <aCera@saverilawfirm.com>
Cc: Stameshkin, Liz <lstameshkin@cooley.com>; Holden Benon <hbenon@saverilawfirm.com>; Dunning, Angela L.
<adunning@cgsh.com>; Ghajar, Bobby A. <bghajar@cooley.com>; Ghazarian, Colette A <cghazarian@cooley.com>;
Lauter, Judd <jlauter@cooley.com>; Biksa, Liene <lbiksa@cooley.com>; Alvarez, Jessica <jalvarezlopez@cooley.com>;
mlemley@lex-lumina.com <mlemley@lex-lumina.com>; Weinstein, Mark <mweinstein@cooley.com>; Poppell, Cole A
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Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh Jensen <ajensen@saverilawfirm.com>; Rya
Fishman <rfishman@saverilawfirm.com>; Matthew Butterick <mb@buttericklaw.com>; Nada Djordjevic
<ndjordjevic@dicellolevitt.com>; James Ulwick <Julwick@dicellolevitt.com>; Bryan L. Clobes
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<akeller@dicellolevitt.com>; David Straite <dstraite@dicellolevitt.com>; Christopher Young
<cyoung@saverilawfirm.com>; Ruby Ponce <rponce@saverilawfirm.com>; Alexander Sweatman
<ASweatman@caffertyclobes.com>; Heaven Haile <hhaile@saverilawfirm.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: Re: Kadrey v. Meta: 8 Additional Deponents
Hi Aaron - we can M&C tom orrow at 2 PT and agree ok not to have lead counsel re the Zuck erberg issue. Thanks, Kat hle en




                                        External (khartnett@cooley.com)

                                                                                                                                                                     Report This Email FAQ Skout Email Protection


Hi Aaron - we can M&C tomorrow at 2 PT and agree ok not to have lead counsel re the Zuckerberg issue.

Thanks,
Kathleen

                                                                                    On Sep 16, 2024, at 9:05 PM, Aaron Cera <aCera@saverilawfirm.com> wrote:

                                                                                          [External]

                                                                                    Counsel,

                                                                                    Thanks for your emails regarding deposition dates and the Rule 30(b)(6) notice.

                                                                                    We have reviewed your proposed dates for Amanda Kallet – September 27 (Cooley NYC),
                                                                                    Alex Boesenberg – September 27 (Cooley SF), and Eleanora Presani – September 26
                                                                                    (Cooley NYC). We are writing to confirm these dates and locations.

                                                                                    Regarding Hugo Touvron and Nikolay Bashlykov, we note the unreasonableness of
                                                                                    providing a location in Europe 8-10 days away from the dates you have provided. Plaintiffs
                                                                                    reserve all rights. We believe the first two weeks of October are appropriate for the Touvron
                                                                                    and Bashlykov depositions. As Meta's counsel previously stated, “Meta is willing to
                                                                                    consider one-off deviations from the September 30 discovery cut-off based on a showing

                                                                                                                                                            3
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of need." To that end, please provide dates for Mr. Touvron and Mr. Bashlykov in the first
two weeks of October. We will continue to work with you to finalize arrangements.

We understand you are still identifying a date for Ahmad Al-Dahle, and we look forward to
receiving that information shortly.

We served our 30(b)(6) deposition notice tonight.

Finally, regarding Mark Zuckerberg's deposition, we are available to meet and confer
tomorrow between 2-4 PM PT. Given Hixson's recent discovery orders, the current case
schedule, and the depositions occurring this week, we propose stipulating that the
absence of lead counsel from this meet and confer will not be a reason for delaying the
briefing on this issue. Please confirm if Meta is amenable to this.

Best,
Aaron

Aaron Cera
Associate
___________________________


<Outlook-qlv44jrg.png>

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San Francisco, CA 94108
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F 415.395.9940




From: Stameshkin, Liz <lstameshkin@cooley.com>
Sent: Monday, September 16, 2024 9:13 AM
To: Hartnett, Kathleen <khartnett@cooley.com>; Holden Benon <hbenon@saverilawfirm.com>;
Dunning, Angela L. <adunning@cgsh.com>; Ghajar, Bobby A. <bghajar@cooley.com>; Ghazarian, Colette
A <cghazarian@cooley.com>; Lauter, Judd <jlauter@cooley.com>; Biksa, Liene <lbiksa@cooley.com>;
Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-lumina.com <mlemley@lex-lumina.com>;
Weinstein, Mark <mweinstein@cooley.com>; Poppell, Cole A <CPoppell@cooley.com>
Cc: Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Aaron Cera
<aCera@saverilawfirm.com>; Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh
Jensen <ajensen@saverilawfirm.com>; Rya Fishman <rfishman@saverilawfirm.com>; Matthew Butterick
<mb@buttericklaw.com>; Nada Djordjevic <ndjordjevic@dicellolevitt.com>; James Ulwick
<Julwick@dicellolevitt.com>; Bryan L. Clobes <BClobes@caffertyclobes.com>; Mohammed Rathur
<MRathur@caffertyclobes.com>; Amy Keller <akeller@dicellolevitt.com>; David Straite
<dstraite@dicellolevitt.com>; Christopher Young <cyoung@saverilawfirm.com>; Ruby Ponce
<rponce@saverilawfirm.com>; Alexander Sweatman <ASweatman@caffertyclobes.com>; Ashleigh
Jensen <ajensen@saverilawfirm.com>; Heaven Haile <hhaile@saverilawfirm.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta: 8 Additional Deponents
Counsel , Fol lowi ng up on the bel ow, we c an offer Nikol ay Bashkyl ov on September 24 and Hugo Touvron on September 26. Mr. Bas hkyl ov is based in Lond on, and Mr. T ouvron c an travel to L ondon for his depo




                                                                                                                                                                                                                        4
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      External (lstameshkin@cooley.com)

                                                                     Report This Email FAQ Skout Email Protection


Counsel,

Following up on the below, we can offer Nikolay Bashkylov on September 24 and Hugo Touvron on
September 26. Mr. Bashkylov is based in London, and Mr. Touvron can travel to London for his
deposition, so we can offer both of these at Cooley’s London office.

Best,

Liz



From: Hartnett, Kathleen <khartnett@cooley.com>
Sent: Friday, September 13, 2024 5:26 PM
To: Holden Benon <hbenon@saverilawfirm.com>; Stameshkin, Liz <lstameshkin@cooley.com>;
Dunning, Angela L. <adunning@cgsh.com>; Ghajar, Bobby A. <bghajar@cooley.com>; Ghazarian, Colette
A <cghazarian@cooley.com>; Lauter, Judd <jlauter@cooley.com>; Biksa, Liene <lbiksa@cooley.com>;
Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-lumina.com; Weinstein, Mark
<mweinstein@cooley.com>; Poppell, Cole A <CPoppell@cooley.com>
Cc: Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Aaron Cera
<aCera@saverilawfirm.com>; Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh
Jensen <ajensen@saverilawfirm.com>; Rya Fishman <rfishman@saverilawfirm.com>; Matthew Butterick
<mb@buttericklaw.com>; Nada Djordjevic <ndjordjevic@dicellolevitt.com>; James Ulwick
<Julwick@dicellolevitt.com>; Bryan L. Clobes <BClobes@caffertyclobes.com>; Mohammed Rathur
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<rponce@saverilawfirm.com>; Alexander Sweatman <ASweatman@caffertyclobes.com>; Ashleigh
Jensen <ajensen@saverilawfirm.com>; Heaven Haile <hhaile@saverilawfirm.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: RE: Kadrey v. Meta: 8 Additional Deponents

Counsel,

We have your email from after 10pm last night asking Meta to provide by Monday deposition dates
for various Meta witnesses. Reserving all rights as to the unreasonableness and timing of the
request, given our prior correspondence (not repeated here), we are able to provide proposed
dates for three of the witnesses:

         Amanda Kallet – September 27 (Cooley NYC)
         Alex Boesenberg – September 27 (Cooley SF)
         Eleanora Presani – September 26 (Cooley NYC)

We are looking into dates for Hugo Touvron and Nikolay Bashlykov. As you know, both are based in
Europe and their depositions must proceed accordingly, and at appropriate local
times. Preliminarily, we understand that they may be available for deposition in the UK or
elsewhere in the EU, likely the week of September 23. We are also looking into dates for Ahmad Al-
Dahle.

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We reiterate our repeated request for the Rule 30(b)(6) notice, as we of course cannot provide
dates for a generic “Rule 30(b)(6)” witness. Among other things, we have informed you that
Melanie Kambadur was likely to be a Rule 30(b)(6) witness, and her deposition will take place next
week. To the extent we do not receive a notice with sufficient time to prepare her and she
otherwise would be our designee, we reserve the right to designate her testimony for Rule 30(b)(6)
purposes after her deposition. The same is true for any other witness for whom we do not have
sufficient notice of Plaintiffs’ Rule 30(b)(6) topics. And of course, we are not waiving Meta’s right to
object to the topics or sufficiency of the notice once we finally receive it.

Finally, with respect to Mr. Zuckerberg, as reflected in our filing this week, we object to his
deposition based on the apex doctrine. We request a meet and confer regarding this issue on
Monday, September 16.

Thanks,
Kathleen

Kathleen R. Hartnett
Cooley LLP
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San Francisco, CA 94111-4004
+1 415 693 2071 office
+1 415 693 2222 fax
+1 202 368 5916 mobile
khartnett@cooley.com
www.cooley.com/people/kathleen-hartnett
Pronouns: she, her, hers




From: Holden Benon <hbenon@saverilawfirm.com>
Sent: Thursday, September 12, 2024 10:19 PM
To: Hartnett, Kathleen <khartnett@cooley.com>; Stameshkin, Liz <lstameshkin@cooley.com>; Dunning,
Angela L. <adunning@cgsh.com>; Ghajar, Bobby A. <bghajar@cooley.com>; Ghazarian, Colette A
<cghazarian@cooley.com>; Lauter, Judd <jlauter@cooley.com>; Biksa, Liene <lbiksa@cooley.com>;
Alvarez, Jessica <jalvarezlopez@cooley.com>; mlemley@lex-lumina.com; Weinstein, Mark
<mweinstein@cooley.com>; Poppell, Cole A <CPoppell@cooley.com>
Cc: Cadio Zirpoli <czirpoli@saverilawfirm.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Aaron Cera
<aCera@saverilawfirm.com>; Margaux Poueymirou <mpoueymirou@saverilawfirm.com>; Ashleigh
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<dstraite@dicellolevitt.com>; Christopher Young <cyoung@saverilawfirm.com>; Ruby Ponce
<rponce@saverilawfirm.com>; Alexander Sweatman <ASweatman@caffertyclobes.com>; Ashleigh
Jensen <ajensen@saverilawfirm.com>; Heaven Haile <hhaile@saverilawfirm.com>; z/Meta-Kadrey
<zmetakadrey@cooley.com>
Subject: Kadrey v. Meta: 8 Additional Deponents

[External]

Counsel,



                                                   6
                        Case 3:23-cv-03417-VC Document 162-1 Filed 09/20/24 Page 8 of 8

           Consistent with the Court's order, Plaintiffs request dates for the following 8 deponents.
           Plaintiffs reserve the right to request different dates and/or reschedule depositions
           pending the outcome of Plaintiffs’ motion to enlarge the fact-discovery cut-off:

                1. 30(b)(6).

                2. Ahmad Al-Dahle.

                3. Hugo Touvron.

                4. Amanda Kallet.

                5. Alex Boesenberg.

                6. Nikolay Bashlykov.

                7. Eleonora Presani.

                8. Mark Zuckerberg.

           Please provide dates as soon as possible, and in any event no later than Monday. After
           receipt, we will serve formal notices.

           Thank you,
           Holden




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